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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


UNITED STATES OF AMERICA,

vs.                                                    CASE NO: 3:19-cr-215-J-39PDB

DAVID FUNES.
________________________________/

            SECOND UNOPPOSED MOTION TO CONTINUE SENTENCING

       The Defendant, DAVID FUNES, by and through his undersigned counsel, pursuant to Rule

12(b) of the Federal Rules of Criminal Procedure, respectfully moves this Honorable Court for a

second continuance of the sentencing in this matter, and as grounds therefore would show:

       1.    The Defendant is presently awaiting sentencing on conspiracy to commit health care

fraud, in violation of 18 U.S.C. § 1349, receipt of health care kickbacks, in violation of 42 U.S. C.

§ 1320 a-7b(b)(1)(A), and illegal monetary transactions, in violation 18 U.S.C. § 1957.

       2.      The sentencing in this case is set for Monday, July 13, 2020, at 9:30a.m.

       3.      The Defendant is in need of a second continuance of the sentencing in this case

in that he is continuing to pursue matters which may result in the filing of a substantial assistance

motion by the government and is in need of additional time to complete the same.

       4.      The Defendant asserts that the Court would be in a better position to assess the nature

and extent of his cooperation in approximately 90-120 days, provided the government chooses to file

such a motion. Specifically, the Defendant requests that his sentencing be continued to a date to

coincide with the sentencing hearing/s, if any, in the related case of United States v. Balotin et al.,

(Case No.: 3:19-cr-191J-34JTB).

       5.      The Defendant’s instant request is not made for any dilatory purpose.
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         6.     The undersigned has conferred orally with AUSA Julie Hackenberry Esq., who

indicates no opposition to a continuance of the sentencing in this case, for the reasons expressed

above.

         7.     The Defendant is currently on pretrial release and is compliant with the conditions

thereof.

                                   MEMORANDUM OF LAW

         The Court may continue this matter beyond the speedy trial period pursuant to 18 U.S.C. §

3161, if “the ends of justice served by taking such action outweigh the best interest of the public...

in a speedy trial”. The Defendant submits that accordingly, the matter is within the sound discretion

of this Honorable Court.

         WHEREFORE, the Defendant respectfully requests the Court grant the instant motion or

for such other and further relief as the Court may deem appropriate under the circumstances.


                                               MAKOFKA AND MAKOFKA

                                               /s/ David A. Makofka
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 19, 2020, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to the
following:


AUSA Julie Hackenberry, Esq.


                                                      /s/ David A. Makofka
                                                       ATTORNEY
